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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division                               ■         ^

 UNITED STATES OF AMERICA,


         V.                                                    No. 1:19MJ 99^
 KARDJS L LLAGUNO-NUNEZ,
                                                               Court Date: July 15,2019
         Defendant.




                                   CRIMINAL INFORMATION


                                  Count I(Misdemeanor 7869340)

THE UNITED STATES ATTORNEY CHARGES THAT:


        On or about May 29, 2019, at Fort Belvoir, Virginia, within the special maritime and

teiTitorial jurisdiction of the United States in the Eastern District of Virginia, the defendant,

KARINS I. LLAGUNO-NUNEZ, did unlawfully steal, purloin, or knowingly convert to her use

or the use of another, property of the United States or any department or agency thereof,

specifically: One (1)swimsuit bottom, and Six (6) necklaces, the property of the United States

Aimy and Air Force Exchange Service, said property having a value of less than One Thousand

Dollars ($1,000).




(In violation of Title 18, United States Code, Section 641)
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